            Case 5:14-cv-00665-F Document 628 Filed 02/23/22 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF OKLAHOMA


ROOM 1210, U.S. COURTHOUSE
OKLAHOMA CITY, OKLAHOMA 73102

Date: February 23, 2022



RICHARD GLOSSIP, et al.,                     )
                                             )
                        Plaintiffs,          )
                                             )
-vs-                                         )      Case No. CIV-14-665-F
                                             )
RANDY CHANDLER, et al.,                      )
                                             )
                        Defendants.          )



ENTER ORDER:

In light of the representations in the notice at doc. no. 627, the court STRIKES the
proceedings (meeting and hearing) previously set for February 24, 2022.

By direction of Judge Stephen P. Friot, we have entered the above enter order.


                                             Carmelita Reeder Shinn, Clerk


                                             By:           s/ Lori Gray
                                                           Deputy Clerk

cc:    all parties
14-0665p155.docx
